Case 21-90002-LT       Filed 07/07/22       Entered 07/07/22 16:55:03       Doc 122      Pg. 1 of 9




  1   CURRY ADVISORS
      A Professional Law Corporation
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      185 West F Street, Ste. 100
  3   San Diego, California 92101
      Telephone: (619) 238-0004
  4   Fax Number: (619) 238-0006
  5   Counsel for Defendant/Counterclaimant
      Wolfe Legal Group, PC
  6
  7                              UNITED STATES BANKRUPTCY COURT
  8                              SOUTHERN DISTRICT OF CALIFORNIA
  9
 10   In re                                  )               ADVERSARY NO. 21-90002-LT
                                             )
 11   CUKER INTERACTIVE, LLC,                )
                                             )               DECLARATION OF K. TODD CURRY IN
 12                                          )               SUPPORT OF BILL OF COSTS
                   Debtor.                   )
 13                                          )
                                             )
 14   Bankruptcy Case No. 18-07363-LA11      )
      __________________________________     )
 15                                          )
                                             )
 16   CUKER INTERACTIVE, LLC,                )               Date: July 27, 2022
                                             )               Time: 3:30 p.m.
 17                 Plaintiff,               )               Clerk’s Office, Telephonic)
      v.                                     )
 18                                          )
      WOLFE LEGAL GROUP, PC,                 )
 19                                          )
                   Defendant.                )
 20                                          )
                                             )
 21   ______________________________________ )
 22
 23           I, K. Todd Curry, declare as follows:
 24           1.     I am an attorney at law, duly licensed to practice before this Court and all courts
 25   of the State of California, and I am a principal of Curry Advisors, A Professional Law
 26   Corporation, which is counsel for Wolfe Legal Group, PC (“WLG”). I have personal knowledge
 27   of the facts set forth in this declaration and, if called and sworn as a witness, I would be
 28   competent to testify to such facts.
Case 21-90002-LT        Filed 07/07/22     Entered 07/07/22 16:55:03        Doc 122     Pg. 2 of 9




  1             2.     Attached as Exhibit 1 are true and correct copies of invoices for the deposition
  2   transcripts that are the subject of the Bill of Costs filed on July 7, 2022 as Docket No. 121.
  3   These costs totaling $5,925.03 are allowable by law pursuant to So. Dist. of Cal. Local Ct. Rule
  4   54.1(b)(3), are correctly stated, were necessarily incurred, and have been paid by WLG and my
  5   office.
  6             I declare under penalty of perjury under the laws of the United States of America that the
  7   foregoing is true and correct. Executed on the 7th day of July 2022.
  8                                                           /s/ K. Todd Curry
  9                                                           ___________________________________
                                                              K. Todd Curry
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Case 21-90002-LT   Filed 07/07/22   Entered 07/07/22 16:55:03   Doc 122   Pg. 3 of 9
Case 21-90002-LT   Filed 07/07/22   Entered 07/07/22 16:55:03   Doc 122   Pg. 4 of 9
Case 21-90002-LT   Filed 07/07/22   Entered 07/07/22 16:55:03   Doc 122   Pg. 5 of 9
Case 21-90002-LT   Filed 07/07/22   Entered 07/07/22 16:55:03   Doc 122   Pg. 6 of 9
Case 21-90002-LT   Filed 07/07/22   Entered 07/07/22 16:55:03   Doc 122   Pg. 7 of 9
Case 21-90002-LT   Filed 07/07/22   Entered 07/07/22 16:55:03   Doc 122   Pg. 8 of 9
Case 21-90002-LT   Filed 07/07/22   Entered 07/07/22 16:55:03   Doc 122   Pg. 9 of 9
